Case 16-16726-jkf      Doc 39
                          Filed 06/16/17 Entered 06/16/17 13:26:53 Desc Main
                           Document     Page 1 of 2
                IN THE UNITED STATES BANKRUPTCY COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)

IN RE:                                     : Case No. 16-16726-sr
                                           :
HARRY SHABOIAN, JR.                        : Chapter 13
SHARON SHABOIAN                            :
              DEBTORS                      :
                                           :
                                           :

                STIPULATION TO WITHDRAW MOTION FOR RELIEF
                         FROM THE AUTOMATIC STAY

       WHEREAS, on May 24, 2017, Wilmington Savings Fund Society, FSB, as Trustee of
Stanwich Mortgage Loan Trust A (“WSFS”), filed it Motion for Relief from the Automatic Stay
against the Debtors with respect to the real property located at 2421 South Lambert Street,
Philadelphia, PA 19145;

        WHEREAS, on June 2, 2017, the Debtors filed a response to the motion for relief stating
that they are current on their post-petition adequate protection payments to WSFS; and

        WHEREAS, after discussions between counsel for the parties, and WSFS’ re-review of its
internal records concerning the Debtors’ payment history, WSFS has determined that the Debtors
are in fact current on their post-petition adequate protection payments to WSFS.

       NOW THEREFORE, intending to be legally bound, the parties, by and through their
unsigned counsel, hereby agree that WSFS’ Motion for Relief from the Automatic Stay shall be
withdrawn without prejudice pursuant to the accompanying Order.


 /s/ Joel S. Todd, Esquire                           /s/ Brad J. Sadek, Esquire
 Joel S. Todd, Esquire                               Brad J. Sadek, Esquire
 Shelton, Harrison & Pinson, PLLC                    Sadek and Cooper
 212 West Gay Street                                 1315 Walnut Street, #502
 West Chester, PA 19380                              The Philadelphia Building
 P: 484-483-4957                                     Philadelphia, PA 19107
                                                     P: 215-545-0008
 Attorney for Wilmington Savings Fund
 Society, FSB, as Trustee of Stanwich                Attorney for the Debtors
 Mortgage Loan Trust A
Case 16-16726-jkf          Doc 39      Filed 06/16/17 Entered 06/16/17 13:26:53                  Desc Main
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IN RE:                                             : Case No. 16-16726-sr
                                                   :
HARRY SHABOIAN, JR.                                : Chapter 13
SHARON SHABOIAN                                    :
                DEBTORS                            :
                                                   :
                                                   :

                                      CERTIFICATE OF SERVICE

         I, Joel S. Todd, Esquire, hereby certify that on the date set forth below, I caused a true and correct

copy of the foregoing Stipulation to Withdraw Motion for Relief from Stay, with accompanying proposed

Order, to be served upon the all of the relevant parties identified below via the Court’s electronic

notification system.


Brad J. Sadek, Esquire
Sadek and Cooper
1315 Walnut Street, Suite 502
Philadelphia, PA 19107
Attorney for the Debtor

Chapter 13 Trustee                                          United State Trustee
Frederick L. Reigle                                         Office of the U.S. Trustee
2901 St. Lawrence Avenue                                    833 Chestnut Street, Suite 500
P.O. Box 4010                                               Philadelphia, PA 19107
Reading, PA 19606


Date: June 16, 2017

                                                            /s/ Joel S. Todd, Esquire
                                                            Joel S. Todd, Esquire
                                                            Shelton, Harrison & Pinson, PLLC
                                                            212 West Gay Street
                                                            West Chester, PA 19380
                                                            P: 484.483.4957

                                                            Attorney for Wilmington Savings Fund Society,
                                                            FSB, as Trustee of Stanwich Mortgage Loan
                                                            Trust A
